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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    CENTRAL DIVISION
                                       LEXINGTON

    UNITED STATES OF AMERICA,                       )
                                                    )
         Plaintiff,                                 )         No. 5:18-CR-81-REW-MAS
                                                    )
    v.                                              )
                                                    )                    ORDER
    ANDREW GILBERT YBARRA, II,                      )
                                                    )
         Defendant.                                 )
                                                    )
                                                    )

                                         *** *** *** ***

         After conducting Rule 11 proceedings, see DE 337 (Minute Entry), Judge Stinnett

recommended that the undersigned accept Defendant Ybarra’s guilty plea and adjudge him guilty

of Count 29 of the Superseding Indictment. See DE 340 (Recommendation); see also DE 336 (Plea

Agreement); DE 249 (Superseding Indictment) at 82–84. Judge Stinnett expressly informed

Defendant of his right to object to the recommendation and to secure de novo review from the

undersigned. See DE 340 at 2–3. The established, 3-day objection deadline has passed, and no

party has objected.1

         The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 466, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection”



1
 Judge Stinnett amended the written recommendation to reflect the 3-day period that the parties
agreed to at the hearing. See DE 343 (Order).
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filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).

       The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

       1. The Court ADOPTS DE 340, ACCEPTS Ybarra’s guilty plea, and ADJUDGES him

           guilty of Count 29 of the Superseding Indictment (DE 249 at 82–84); and

       2. The Court will issue a separate sentencing order.2

       This the 16th day of September, 2019.




2
  At the hearing, Judge Stinnett, consistent with the parties’ agreed recommendation (DE 336 at ¶
9), released Defendant on previously imposed conditions (as modified per Judge Stinnett’s Order).
See United States v. Ybarra, No. 5:19-cr-10-JMH-MAS (Order Setting Conditions); DE 337
(granting Defendant’s motion to remove drug testing condition). The Court, thus, sees no need to
further address detention, at this time.
